Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19       PageID.1   Page 1 of 28




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

KELLY C. GALLAGHER and
ROBERT WYATT,
individually and on behalf of all
others similarly situated,
                                                    Case No. 19-
               Plaintiffs,                          Hon.

v.
GENERAL MOTORS COMPANY,

               Defendant.
                                                                                    /

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                                                                                    /

                             COLLECTIVE ACTION COMPLAINT AND
                                  DEMAND FOR JURY TRIAL

               NOW COME Plaintiffs KELLY C. GALLAGHER and ROBERT WYATT

(collectively “Plaintiffs”), by and through their attorneys, Hertz Schram PC, on

behalf of themselves and on behalf of all others similarly situated, bring this

Complaint against Defendant as follows:

{H0668171.4}                                1
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.2    Page 2 of 28




                               PRELIMINARY STATEMENT

               1.   Plaintiff GALLAGHER was for all times relevant to this Complaint a

Component Validation Engineer for Defendant GENERAL MOTORS COMPANY

(“GM”) and Aerotek CE, a division of Aerotek, Inc. (“Aerotek”), a position for

which he was paid hourly and that is not exempt from the overtime provisions of

the Fair Labor Standards Act (“FLSA”).

               2.   Plaintiff WYATT was for all times relevant to this Complaint a

Business Analyst for Defendant GM and TEKsystems, Inc. (“TEKsystems”), a

position for which he was paid hourly and that is not exempt from the overtime

provisions of the FLSA.

               3.   Plaintiffs allege on behalf of themselves and all similarly-situated

non-union contract employees hired from various contract houses (“Class”) that

the Defendant GM unlawfully failed and refused to pay Plaintiffs and members of

the Plaintiff Class overtime pay for overtime worked, notwithstanding that

Plaintiffs and members of the Plaintiff Class were and are paid hourly and are not

and have not been exempt from overtime pay.

               4.   Plaintiffs allege on behalf of themselves and the proposed Plaintiff

Class that they are and have been entitled to overtime pay for overtime worked.

               5.   Plaintiffs allege on behalf of themselves and the prospective Plaintiff

Class that Defendant GM failed to keep accurate time records as required by law.



{H0668171.4}                                    2
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19              PageID.3   Page 3 of 28




               6.    Defendant’s practices as alleged herein violated and continue to

violate the FLSA, 29 U.S.C. §201 et seq.

               7.    Plaintiffs on behalf of themselves and the prospective Class seek

injunctive and declaratory relief, compensation and credit for all uncompensated

work required, suffered or permitted by Defendant GM, liquidated and/or other

damages, penalties and interest as permitted by the applicable law, and attorneys’

fees and costs.

               8.    At all times relevant to this Complaint, Defendant GM has engaged in

and continues to engage in a practice and policy of willfully failing and refusing to

pay Plaintiffs and the class they seek to represent overtime compensation due and

owing to Plaintiffs and members of the prospective Class in violation of federal

law.

               9.    Defendant GM implemented and enforced unlawful policies and

practices in violation of the federal law, as detailed infra, by failing and refusing to

pay Plaintiffs and the members of the Class overtime pay for overtime worked,

notwithstanding that Plaintiffs and the members of Plaintiff Class were and are

paid hourly, are not and have not been exempt, and are and have been entitled to

payment for overtime pay.

               10.   Defendant GM maintained policies and practices pursuant to which it

failed to keep accurate time records and whereby its contracted non-union hourly



{H0668171.4}                                    3
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19                PageID.4   Page 4 of 28




employees worked overtime but were not paid overtime pay. Instead, Defendant

GM refused to pay Plaintiffs and the class members overtime and, at times,

required Plaintiffs and the members of the Class to take compensatory time off in

lieu of overtime payments as detailed infra, in violation of federal law.

                                JURISDICTION AND VENUE

               11.   Jurisdiction and venue are proper in the Eastern District of Michigan,

Southern Division, as Defendant is licensed to do business and is doing business in

Michigan and conducts business in the Eastern District, Southern Division of

Michigan. In addition, jurisdiction is proper pursuant to 29 U.S.C. §201 et seq. and

28 U.S.C. §1331.

                                            PARTIES

               12.   Plaintiff KELLY GALLAGHER was for all times relevant to this

Complaint a resident of Warren, Macomb County, Michigan and was employed

with Defendant GM from on or about March 15, 2016, until on or about December

1, 2018. During the course of his employment, he served as a non-union contract

employee in the position of Component Validation Engineer for Defendant GM.

               13.   Plaintiff ROBERT WYATT is a resident of Westland, Wayne County,

Michigan, and was employed with Defendant GM from on or about August 1,

2016, to on or about November 16, 2018. During the course of his employment, he

has served as a non-union contract employee in the position of Business Analyst



{H0668171.4}                                     4
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.5   Page 5 of 28




for Defendant GM.

               14.   Defendant GM is a foreign limited liability company who is doing

business in the State of Michigan, with its global headquarters located at 300

Renaissance Center, Detroit, Michigan, 48243, and a resident agent located in

Bingham Farms, Oakland County, Michigan.

                                 GENERAL ALLEGATIONS

               15.   From at least March 15, 2016, to the present, Defendant GM

contracted with several “contract houses,” including but not limited to Aerotek and

TEKsystems, for contract employees (known as “contract workers”) to provide

hourly labor, paid hourly, in a variety of Defendant GM’s offices and

manufacturing plants nationwide, including Michigan.

               16.   Defendant’s policies note that contract workers are distinct from

independent contractors.

               17.   Defendant GM’s policies designate contract workers as “third parties”

but also subject the contract workers to Defendant GM’s Code of Conduct and

other policies.

               18.   On or about November 20, 2018, Defendant GM submitted a report to

the Securities and Exchange Commission stating that Defendant GM would reduce

its “contract staff” by the end of 2019, and this, along with two other objectives,

would impact Defendant GM in the amount of $3.0 billion to $3.8 billion.



{H0668171.4}                                    5
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.6   Page 6 of 28




               19.   Defendant GM maintains a Contract Worker Handbook that it

requires all contract houses working with Defendant GM to provide to all of the

contract workers supplied to Defendant GM by the contract houses.

               20.   Contract houses are required to update the contract workers as to any

changes to Defendant GM’s policies and procedures set forth in the Contract

Worker Handbook.

               21.   Defendant GM manages its contract worker program, called the GM

Managed Contract Services Program (“GM MCSP”), through a third-party

administrator, Allegis Global Solutions (“Allegis”).

               22.   Pursuant to the Contract Worker Handbook, Defendant GM uses the

Allegis “Beeline system” to record contract workers’ hours worked and to manage

contract workers’ services under the GM MCSP.

               23.   The Beeline system requires contract workers to submit their

timesheets to the contract workers’ GM Manager for approval.

               24.   In order for contract workers to input hours worked into the Beeline

system, contract workers normally must enter a Work Order number, which

Defendant GM supplies. A GM Manager advises the contract worker of the correct

Work Order number to use.

               25.   In order to input hours worked into the Beeline system, contract

workers must have a GL Code, which is a unique 26-digit account number that



{H0668171.4}                                    6
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.7   Page 7 of 28




Defendant GM assigns to the contract worker. A contract worker’s GM Manager

supplies the correct GL Code for each contract worker to input into the Beeline

system.

               26.   In order to be credited with hours worked, a contract worker must use

the Timecard Submittal Process, which requires the worker to enter a GL Code

into the Beeline system, enter the appropriate Work Order number, select a pay

code, select the shift worked, save the timecard electronically, and then press an

onscreen button labeled “Submit for Approval” in order that the timecard will be

sent to the contract worker’s GM Manager for approval.

               27.   The Contract Worker Handbook outlines an almost identical process

to the timecard approval process, for contract workers to obtain GM Manager

approval of reimbursement for expenses.

               28.   The Contract Worker Handbook expressly recognizes that “overtime”

is defined “as any hours worked in excess of 40 hours.”

               29.   Within the Contract Worker Handbook, Defendant GM makes an

exception to overtime for hours worked on Sunday.

               30.   The Contract Worker Handbook promises “double time” pay for “any

hours worked on a Sunday after 40 hours of Straight time have been achieved.”

               31.   The Contract Worker Handbook defines “Straight Time” as “the first

40 hours of work in the Monday-Sunday work week.”



{H0668171.4}                                    7
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19             PageID.8   Page 8 of 28




               32.   The Contract Worker Handbook promises overtime pay after 32 hours

of straight time are worked in a week with one holiday or after 24 hours of straight

time during the Thanksgiving week.

               33.   The Contract Worker Handbook promises double time pay to contract

workers for work performed on a holiday or Sunday if 32 hours of straight time is

also worked.

               34.   The Contract Worker Handbook states that a contract worker’s work

schedule is established by “your GM Assignment Manager” and any deviations

from that schedule “must be requested minimally one (1) week in advance and

approved by your GM Assignment Manager.”

               35.   Throughout the Contract Worker Handbook, Defendant GM instructs

contract workers to contact the worker’s GM Manager or GM Global Security in

order to report non-compliance with GM policies and procedures, misconduct in

the workplace, harassment or discrimination, health and safety concerns at GM

sites, workplace violence, and the presence of weapons on GM property.

               36.   Within the Contract Worker Handbook, Defendant GM directs

contract workers not to address questions regarding compensation to Allegis or

Defendant GM.

               37.   Defendant GM specifically states within the Contract Worker

Handbook that a contract worker should only contact the contract house about



{H0668171.4}                                   8
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19              PageID.9   Page 9 of 28




“timecard or expense reporting, and paycheck or expense reimbursement issues.”

               38.   Within the Contract Worker Handbook, Defendant GM directs

contract workers not to address questions regarding benefits to Allegis or

Defendant GM.

               39.   Defendant GM controls the contract worker’s schedule and duties and

ability to record hours worked, but Defendant GM affirmatively prohibits the

contract worker from discussing compensation and benefits issues with Defendant

GM.

               40.   The Contract Worker Handbook also requires contract workers to

abide by the GM Travel and Expense Reporting Policy for expenses incurred

during travel required as a part of the contract worker’s “GM assignment.”

               41.   Contract workers’ travel expense requests must be submitted through

the Beeline system with supporting documentation for approval.

               42.   Throughout the Contract Worker Handbook, Defendant GM refers to

the contract house as “your employer” and states repeatedly and misleadingly that

“GM [is] not your employer.”

               43.   The Contract Worker Handbook states that the “end of assignment”

occurs when Defendant GM “closes out” the worker’s contract, either because the

project is completed, or the contract worker will be hired as a recognized employee

of Defendant GM.



{H0668171.4}                                   9
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19                PageID.10    Page 10 of 28




               Kelly Gallagher

               44.   On or about March 15, 2016, Defendant GM employed Plaintiff

GALLAGHER, through its contracts with Aerotek, to serve as one of Defendant

GM’s Component Validation Engineers.

               45.   On or about December 1, 2018, Plaintiff GALLAGHER’s

employment with Defendant GM ended.

               46.   During Plaintiff GALLAGHER’s tenure with Defendant GM, GM

required him to work more than 900 hours of uncompensated overtime.

               47.   In addition to the unpaid hours of overtime previously stated, Plaintiff

GALLAGHER also attended mandatory training classes each year, and Defendant

GM failed to pay overtime compensation to Plaintiff GALLAGHER for those

overtime hours.

               48.   Plaintiff GALLAGHER received payment at an hourly rate on a

weekly basis but did not receive overtime compensation.

               49.   Defendant GM contracted with Aerotek to employ Plaintiff

GALLAGHER, and his employment with Defendant GM was contingent upon the

approval of Defendant GM.

               50.   Defendant GM controlled Plaintiff GALLAGHER’s schedule, duties,

and assignments.




{H0668171.4}                                     10
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19                PageID.11    Page 11 of 28




               51.   Defendant   GM    required    weekly   time    records    for   Plaintiff

GALLAGHER to be approved by a GM Manager in Defendant GM’s timekeeping

system before Aerotek would compensate Plaintiff GALLAGHER on behalf of

Defendant GM.

               52.   Plaintiff GALLAGHER notified his GM Manager, Darrell Patterson,

of the substantial overtime he was working and had accrued, and Plaintiff

GALLAGHER showed Mr. Patterson detailed records that Plaintiff GALLAGHER

kept of his accrued overtime. Plaintiff GALLAGHER asked Mr. Patterson if

Plaintiff GALLAGHER could receive overtime pay instead of comp time due to

the excessive amount of comp time accrued. Mr. Patterson politely stated he would

check into it, but he never gave Plaintiff GALLAGHER an answer to his requests.

               53.   Mr. Patterson was a direct employee of Defendant GM.

               54.   Plaintiff GALLAGHER notified his second GM Manager, Mark

Kohls, of the substantial overtime he was working and had accrued, and Plaintiff

GALLAGHER also showed Mr. Kohls detailed records that                                Plaintiff

GALLAGHER kept of his accrued overtime. Plaintiff GALLAGHER asked Mr.

Kohls if Plaintiff GALLAGHER could receive overtime pay instead of comp time

due to the excessive amount of comp time accrued, but Mr. Kohls denied the

request.

               55.   Mr. Kohls was a direct employee of Defendant GM.



{H0668171.4}                                  11
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19          PageID.12   Page 12 of 28




               56.   Plaintiff GALLAGHER’s GM Managers and the GM Managers in the

Electric Power Steering Design Release Engineer (DRE) Group were aware of the

substantial number of hours Plaintiff GALLAGHER was compelled to work based

upon his reports to management and his lengthy work hours performed within the

presence or under the observation of the GM Managers.

               57.   Plaintiff GALLAGHER’s GM Managers followed Defendant GM’s

policies and requirements that compelled Plaintiff GALLAGHER to work unpaid

overtime.

               58.   Plaintiff GALLAGHER’s workload at Defendant GM’s facilities

often involved his work on double, or even triple, a normal number of projects,

which resulted in overtime work.

               59.   During his tenure with Defendant GM, Plaintiff GALLAGHER

informed his GM Managers of his heavy workload involving many projects.

               60.   Regardless of the actual hours Plaintiff GALLAGHER worked his

GM Managers refused to approve more than 8 hours per day on his time records.

               61.   During one of Plaintiff GALLAGHER’s first weeks that included a

holiday, Plaintiff GALLAGHER recorded four 10 hour days, but he was then

instructed to reduce his hours because he was told that recording 40 hours worked

on a holiday week defeats the purpose of holiday and furlough days to save the

cost of contractor worker wages for GM.



{H0668171.4}                                 12
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19           PageID.13   Page 13 of 28




               62.   Plaintiff GALLAGHER’s GM Managers told him to take “comp

time” (compensatory time) rather than providing him with monetary compensation

for the overtime work hours.

               63.   At the start of Plaintiff GALLAGHER’s tenure with Defendant GM,

his GM Manager, Darrell Patterson, told him and other workers that Defendant

GM would not pay overtime and that the workers should keep track of overtime in

order to use comp time. Several months before GM terminated Plaintiff

GALLAGHER’s contract, Mr. Patterson informed Plaintiff GALLAGHER of a

new GM policy requiring that comp time be taken within the 2-week period in

which it was earned. Plaintiff GALLAGHER was unable to use the comp time in

the pay period in which the overtime accrued, and Plaintiff GALLAGHER’s work

demands rarely permitted him to use more than a slight fraction of the accrued

comp time.

               64.   After Mr. Kohls became Plaintiff GALLAGHER’s GM Manager,

Plaintiff GALLAGHER showed Mr. Kohls his detailed overtime records.

               65.   Plaintiff GALLAGHER asked Mr. Kohls to receive overtime pay, but

Mr. Kohls told him the overtime had to be requested weekly ahead of time, that the

GM process to provide for overtime pay was too burdensome for Mr. Kohls to

complete, that Plaintiff Gallagher would not receive overtime compensation, and

that Plaintiff GALLAGHER should try to use comp time if it was possible.



{H0668171.4}                                  13
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19            PageID.14   Page 14 of 28




               66.   Plaintiff GALLAGHER did not voluntarily enter into a written

agreement to accept compensatory time in lieu of overtime wages before he was

compelled to work overtime hours for Defendant GM.

               67.   Defendant GM never provided statements of compensatory time

earned by or paid to Plaintiff GALLAGHER and affirmatively denied in its record-

keeping process that Plaintiff GALLAGHER worked overtime.

               68.   Defendant GM did not pay for any of the purported “comp time” upon

terminating Plaintiff GALLAGHER’s employment even though Plaintiff

GALLAGHER had not received overtime pay or received comp time.

               69.   On at least one occasion, Plaintiff GALLAGHER entered 32 hours of

work into the timekeeping system during a holiday week, even though he had

worked far in excess of 40 hours. Mr. Kohls rejected Plaintiff GALLAGHER’s

assertion of 32 hours of work performed that week, even though it was much less

than Plaintiff GALLAGHER actually worked. Plaintiff GALLAGHER was

compelled to work several additional hours to collect screen shots of emails, work

orders, and projects addressed that week to obtain compensation for even a reduced

32-hour time entry.

               70.   In other weeks at the start of Mr. Kohls’ management of Plaintiff

GALLAGHER, Mr. Kohls initially rejected Plaintiff GALLAGHER’s entry of

even 40 hours of work even though Plaintiff GALLAGHER had worked well in



{H0668171.4}                                  14
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19           PageID.15   Page 15 of 28




excess of 40 hours during those weeks.

               71.   Plaintiff GALLAGHER notified personnel at Aerotek about the

overtime hours, but Aerotek did not provide him with compensation for the

overtime hours.

               72.   Plaintiff GALLAGHER notified his Aerotek supervisors, Judy Chicka

and later Shaunta Bacon, of the substantial overtime he was working and had

accrued, and Plaintiff GALLAGHER also showed Aerotek management personnel

the detailed records that Plaintiff GALLAGHER kept of his accrued overtime.

               73.   Plaintiff GALLAGHER also notified another employee in Aerotek

management, Tiffany Murano, of the substantial overtime he was working and had

accrued, and Plaintiff GALLAGHER also showed her detailed records that

Plaintiff GALLAGHER kept of his accrued overtime.

               74.   Ms. Chika declined to discuss with Plaintiff GALLAGHER that he

was compelled to seek comp time in lieu of receiving overtime compensation. Ms.

Bacon told Plaintiff GALLAGHER if GM refused to fairly compensate him with

overtime pay, then Plaintiff GALLAGHER should try to stop working overtime.

Ms. Murano stated that she had no ability to assist Plaintiff GALLAGHER in

collecting the unpaid overtime. None of the Aerotek personnel took action to

ensure that Defendant GM paid Plaintiff GALLAGHER for his overtime work.




{H0668171.4}                                  15
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19           PageID.16   Page 16 of 28




               75.   Plaintiff GALLAGHER was required to use the Beeline system

described above in order to enter his time worked and obtain approval from his

GM Managers.

               76.   Once a GM Manager approved his time worked, Plaintiff

GALLAGHER would receive an email from the Beeline system, originally in his

GM email but later in his personal email, confirming Defendant GM’s approval of

the hours entered into the timekeeping system.

               77.   Aerotek personnel were not involved in approving Plaintiff

GALLAGHER’s time entries into the Beeline system.

               78.   Plaintiff GALLAGHER worked at the GM Tech Center (aka Global

Tech Center) in Warren, Michigan; he often worked in the location of the DRE

Group; and he worked primarily in the RAN-B (Research North Building) or the

Vehicle Engineering Center.

               79.   Plaintiff GALLAGHER was generally required to use a security

badge to enter and exit Defendant GM’s facilities.

               80.   Defendant GM also provided Plaintiff GALLAGHER with a GM

laptop, and Plaintiff GALLAGHER used a log-in issued by Defendant GM when

performing work on the laptop.

               81.   Plaintiff GALLAGHER also separately kept detailed records of his

overtime work hours.



{H0668171.4}                                  16
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19          PageID.17   Page 17 of 28




               82.   Plaintiff GALLAGHER is aware of other contract workers who

engaged in overtime work and were not compensated by Defendant GM for those

overtime hours.

               Robert Wyatt

               83.   On or about August 1, 2016, Defendant GM employed Plaintiff

WYATT, through its contracts with TEKsystems, to serve as one of Defendant

GM’s Business Analysts.

               84.   On or about November 16, 2018, Plaintiff WYATT’s employment

with Defendant GM ended.

               85.   During Plaintiff WYATT’s tenure with Defendant GM, GM required

him to work more than 550 hours of uncompensated overtime.

               86.   Plaintiff WYATT received payment at an hourly rate on a weekly

basis but did not receive overtime compensation.

               87.   Defendant GM contracted with TEKsystems to employ Plaintiff

WYATT, and his employment with Defendant GM was contingent upon the

approval of Defendant GM.

               88.   Defendant GM controlled Plaintiff WYATT’s schedule, duties, and

assignments.

               89.   Defendant GM required weekly time records from Plaintiff WYATT

to be approved by a GM Manager in Defendant GM’s timekeeping system before



{H0668171.4}                                 17
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19            PageID.18   Page 18 of 28




TEKsystems would compensate Plaintiff WYATT on behalf of Defendant GM.

               90.   Plaintiff WYATT notified his GM Manager, Dennis Bodrie, of the

substantial overtime he was working and had accrued, and Plaintiff WYATT asked

Mr. Bodrie to leave early because of the overtime he already worked, but Mr.

Bodrie refused to allow Plaintiff WYATT to cease working overtime.

               91.   Mr. Bodrie was a direct employee of Defendant GM.

               92.   Plaintiff WYATT notified his second GM Manager, Carroll Fries, of

the substantial overtime he was working and had accrued but was not permitted to

include in his time entries, but Ms. Fries said she would do nothing about the

overtime Plaintiff WYATT had worked.

               93.   Ms. Fries was a direct employee of Defendant GM.

               94.   Plaintiff WYATT’s GM Managers, including Mr. Bodrie, Ms. Fries,

and Joe Adams, were aware of the substantial number of hours Plaintiff WYATT

was compelled to work based upon his reports to management.

               95.   Plaintiff WYATT’s GM Managers, including Mr. Bodrie, Ms. Fries,

and Mr. Adams, were aware of the substantial number of hours Plaintiff WYATT

was compelled to work and his heavy workload because they worked in the same

area as he did and could observe his presence in the office.

               96.   Plaintiff WYATT’s GM Managers, including Mr. Bodrie, Ms. Fries,

and Mr. Adams, were aware of the substantial number of hours Plaintiff WYATT



{H0668171.4}                                  18
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19             PageID.19   Page 19 of 28




was compelled to work based upon Mr. Bodrie’s reports to other managers that his

group worked extra hours.

               97.   Plaintiff WYATT’s GM Managers followed Defendant GM’s policies

and requirements that compelled Plaintiff WYATT to work unpaid overtime.

               98.   Plaintiff WYATT’s workload at Defendant GM’s facilities was such

that he was compelled to work through his lunch every day and with only a few

minutes of break for lunch approximately once every several days.

               99.   Regardless of the actual hours Plaintiff WYATT worked his GM

Managers refused to approve more than 8 hours per day on his time records.

               100. Although GM Manager Bodrie told Plaintiff WYATT he could leave

early to compensate for extra hours previously worked, Mr. Bodrie would then

assign additional work and prevent Plaintiff WYATT from leaving.

               101. At the start of Plaintiff WYATT’s tenure with Defendant GM, his GM

Manager, Mr. Bodrie, told Plaintiff WYATT that Defendant GM would not pay for

overtime and would only pay for 40 hours of work.

               102. Mr. Bodrie, on behalf of his superior managers, Ms. Fries and Mr.

Adams, refused to allow Plaintiff WYATT to enter more than 40 hours into the

Beeline system.

               103. Plaintiff WYATT did not voluntarily enter into a written agreement to

accept compensatory time in lieu of overtime wages before he was compelled to



{H0668171.4}                                   19
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19            PageID.20   Page 20 of 28




work overtime hours for Defendant GM.

               104. Defendant GM never provided statements of compensatory time

earned by or paid to Plaintiff WYATT and affirmatively denied in its record-

keeping process that Plaintiff WYATT worked overtime.

               105. Defendant GM did not pay for any of the purported “comp time” upon

terminating Plaintiff WYATT’s employment even though Plaintiff WYATT had

not received overtime pay or received comp time.

               106. On occasion, Mr. Bodrie refused to permit Plaintiff WYATT to enter

even 40 hours of work into the timekeeping system, even though Plaintiff WYATT

had worked far in excess of 40 hours.

               107. After Mr. Bodrie rejected Plaintiff WYATT’s time entries, Plaintiff

WYATT was required to alter those time entries in the Beeline system.

               108. Plaintiff WYATT’s supervisor at TEKsytems, Marty Hammond, did

not provide Plaintiff WYATT with compensation for his overtime hours worked.

               109. Plaintiff WYATT was required to use the Beeline system described

above in order to enter his time worked and obtain approval from his GM

Managers.

               110. Once a GM Manager approved his time worked, Plaintiff WYATT

would receive an email from the Beeline system into Plaintiff WYATT’s personal

email confirming Defendant GM’s approval of the hours entered into the



{H0668171.4}                                  20
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19           PageID.21   Page 21 of 28




timekeeping system.

               111. TEKsystem personnel were not involved in approving Plaintiff

WYATT’s time entries into the Beeline system.

               112. Plaintiff WYATT worked at the GM Renaissance Center in Detroit,

Michigan.

               113. Plaintiff WYATT was generally required to use a security badge to

enter and exit Defendant GM’s facilities.

               114. Defendant GM also provided Plaintiff WYATT with a GM laptop,

and Plaintiff WYATT used a log-in issued by Defendant GM when performing

work on the laptop.

               115. Plaintiff WYATT also used a phone provided by GM that recorded

some of his work hours.

               116. Plaintiff WYATT is aware of other contract workers who engaged in

overtime work and were not compensated by Defendant GM for those overtime

hours.

               117. Plaintiffs GALLAGHER and WYATT and the class that they seek to

represent were required to separately track their overtime hours and not input them

into Defendant GM’s Beeline system.

               118. Plaintiffs GALLAGHER and WYATT and the class that they seek to

represent were required to pursue compensatory time (a/k/a “comp time”) in lieu of



{H0668171.4}                                 21
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.22    Page 22 of 28




being paid 1½ their hourly wages for the overtime they worked, but Defendant GM

did not provide the compensatory time off.

               119. Plaintiffs GALLAGHER and WYATT are aware of Defendant GM’s

overtime policies and practices from the Contract Worker Handbook, their

observations of management’s application of Defendant GM’s policies to reduce

the hours entered into the Beeline system for contract workers, the overtime

actually worked by others, and the elimination of thousands of contract worker

jobs.

               120. Plaintiffs GALLAGHER and WYATT are aware that Defendant

GM’s policies and practices prevented contract workers from receiving

compensation for overtime work, required and then prevented “comp time,” and

terminated contract workers without compensating them for past overtime work.

                  FLSA CLAIM-COLLECTIVE ACTION ALLEGATIONS

               121. Plaintiffs and the class they seek to represent allege violations of the

FLSA on behalf of all persons who were, are, or will be employed by Defendant

throughout the country during the applicable statutes of limitations, who have not

been compensated at 1½ times the regular rate of pay for all work performed in

excess of forty (40) hours per workweek.

               122. Plaintiffs and the class they seek to represent allege violations of the

FLSA based upon the failure to maintain and preserve payroll records or other



{H0668171.4}                                     22
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.23   Page 23 of 28




records, containing, without limitation, the total hours worked by each class

member each workday and total hours worked by each class member each

workweek.

               123. Questions of law and fact common to the class as a whole include, but

are not limited to, the following:

                     a.    Whether Defendant GM failed and continues to fail to pay
                           overtime compensation in violation of the FLSA, 29 U.S.C.
                           §201 et seq.;

                     b.    Whether Defendant GM’s policies and practices of its failure to
                           pay overtime to Plaintiffs and the class they seek to represent
                           violate the applicable provisions of the FLSA;
                     c.    Whether Defendant GM’s policies and practices which required
                           and continues to require Plaintiffs and the class they seek to
                           represent to submit time records reflecting only their non-
                           overtime hours violate the applicable provisions of the FLSA;

                     d.    Whether Defendant GM’s policy and practice of maintaining a
                           timekeeping system which prevented and prevents Plaintiffs
                           and the class they seek to represent from documenting their
                           overtime hours worked violates the applicable provisions of the
                           FLSA;
                     e.    Whether Defendant GM’s policy and practice of requiring
                           Plaintiffs and the class they seek to represent to take
                           compensatory time off in lieu of paying overtime to Plaintiffs
                           and the class they seek to represent violates the applicable
                           provisions of the FLSA;

                     f.    Whether Defendant GM’s failure to pay overtime to Plaintiffs
                           and the class they seek to represent was willful within the
                           meaning of the FLSA;
                     g.    Whether Defendant GM failed and continues to fail to make
                           accurate records of actual time work by Plaintiffs and the class


{H0668171.4}                                    23
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19                PageID.24    Page 24 of 28




                           they seek to represent;

                     h.    Whether Defendant GM failed and continues to fail to maintain
                           accurate records of actual time worked by Plaintiffs and the
                           class they seek to represent;

                     i.    Whether Defendant GM failed and continues to fail to report all
                           actual time worked by Plaintiffs and the class they seek to
                           represent; and
                     j.    Whether Defendant GM failed and continues to fail to preserve
                           accurate records of actual time worked by Plaintiffs and the
                           class they seek to represent.

               124. The claim for violation of the FLSA is brought pursuant to 29 U.S.C.

§216(b) for all claims asserted by Plaintiffs on behalf of themselves and the class

they seek to represent, because Plaintiffs’ claims are similar to the claims of the

members of the prospective class.

               125. Plaintiffs and the class they seek to represent are similarly situated,

have substantially similar contract agreements and pay provisions and are subject

to Defendant GM’s common practice, policy or plan of failing to keep accurate

records and failing to pay overtime in violation of the FLSA.

               126. Plaintiffs will fairly and adequately represent and protect the interests

of the members of the class and subclasses.

               127. Plaintiffs have retained counsel competent and experienced in

complex class actions, FLSA, labor law and employment law litigation.

               128. The names and addresses of the Plaintiff putative class members are

available from Defendant GM. To the extent required by law, formal notice will be

{H0668171.4}                                     24
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.25   Page 25 of 28




provided to the prospective class members via first class mail and/or by use of

techniques in a form of notice that has been used customarily in class actions,

subject to court approval.

                                      COUNT I
                         FLSA CLAIMS AGAINST DEFENDANT GM

               129. Plaintiffs on behalf of themselves and the class they seek to represent

allege and incorporate by reference paragraphs 1 through 128.

               130. At all times relevant to this Complaint, Defendant GM has been and

continues to be an “employer” engaged in interstate “commerce” and/or in the

production of “goods” for “commerce” within the meaning of the FLSA 29 U.S.C.

§ 203(d).

               131. At all times relevant to this Complaint, Defendant GM employed

Plaintiffs and continues to employ putative class members, within the definition of

the FLSA 29 U.S.C. § 203(e)(1).

               132. At all times relevant to this Complaint, Defendant GM has had gross

operating revenues in excess of $500,000.00, 29 U.S.C. § 203(s)(1)(A)(i) and (ii).

               133. Each of the named Plaintiffs consents to sue in this action pursuant to

FLSA.

               134. The FLSA requires each covered employer such as Defendant GM to

compensate all non-exempt employees at a rate of not less than 1½ the regular rate

of pay for work performed in excess of forty (40) hours in a workweek.

{H0668171.4}                                    25
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19               PageID.26    Page 26 of 28




               135. Plaintiffs and the class they seek to represent were and are paid hourly

and are not exempt from the right to receive overtime pay under the FLSA.

               136. Plaintiffs and the class they seek to represent are entitled to be paid

overtime compensation for all overtime hours worked.

               137. At all times relevant to this Complaint, Defendant GM had a policy

and practice of failing and refusing to pay overtime to its contract employees for

their hours worked in excess of forty (40) hours per week.

               138. As a result of Defendant GM’s failure to compensate its non-union

contract employees, including Plaintiffs and the class they seek to represent, at a

rate not less than 1½ times the regular rate of pay for work performed in excess of

forty (40) hours in a workweek, Defendant GM has violated and continues to

violate the FLSA, 29 U.S.C. §§ 201 et. seq., including 29 U.S.C. § 207(a)(1) and §

215(a).

               139. Defendant GM has failed to make, keep and preserve records with

respect to each of the Plaintiffs and the class they seek to represent, sufficient to

determine the wages, hours and other conditions and practices of employment in

violation of the FLSA, 29 U.S.C. §§201 et. seq., including 29 U.S.C. §211(c) and §

215(a).

               140. Defendant GM’s conduct as alleged herein constitutes a willful

violation of the FLSA within the meaning of 29 U.S.C. § 255(a).



{H0668171.4}                                     26
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19              PageID.27    Page 27 of 28




               141. Plaintiffs on behalf of themselves and the class that they seek to

represent are entitled to damages in the amount of their respective unpaid overtime

compensation as provided by 29 U.S.C. § 216(b).

               142. Plaintiffs on behalf of themselves and the class that they seek to

represent are entitled to liquidated damages as provided by the FLSA, 29 U.S.C. §

216(b), as Defendant GM’s conduct did not meet both requirements of (1) good

faith combined with (2) reasonable grounds for believing its conduct was proper

under the FLSA.

               143. Plaintiffs on behalf of themselves and the class that they seek to

represent request recovery of their attorney’s fees and costs associated with this

cause as provided by 29 U.S.C. § 216(b).

                                   PRAYER FOR RELIEF


               WHEREFORE, Plaintiffs on behalf of themselves and the class that they

seek to represent pray for the following relief:

               A.   Designation of this action as a collective action on behalf of the
                    Plaintiffs and the class they seek to represent pursuant to the FLSA
                    claims and a prompt issuance of notice pursuant to 29 U.S.C. §216(b),
                    to all similarly situated members of the FLSA opt-in class apprising
                    them of the pendency of this action, permitting them to assert timely
                    FLSA claims in this action by filing individual consent to sue forms
                    pursuant to 29 U.S.C. §216(b) and equitable tolling of the statute of
                    limitations from the date of filing this Complaint until the expiration
                    of the deadline for filing consent to sue forms pursuant to 29 U.S.C.
                    §216(b);



{H0668171.4}                                   27
Case 3:19-cv-11836-RHC-MKM ECF No. 1 filed 06/20/19                PageID.28    Page 28 of 28




               B.    A declaratory judgment against Defendant GM and in favor of Plaintiffs
                     and the class they seek to represent that the practices complained of
                     herein are unlawful under the FLSA 29 U.S.C. §201 et seq.;

               C.    An injunction against Defendant GM and its officers, agents,
                     successors, employees, representatives and any and all persons acting
                     in concert with as provided by law from engaging in each of the
                     unlawful practices, policies and patterns set forth herein;

               D.    An award of damages including liquidated and exemplary damages
                     and penalties for delay to be paid by Defendant GM;

               E.    Designation of Plaintiffs KELLY C. GALLAGHER and ROBERT
                     WYATT as the class representatives;

               F.    Attorneys’ fees, costs and interest; and

               G.    Any other legal and equitable relief that this Court deems just.

                                 DEMAND FOR JURY TRIAL

               Plaintiffs, on behalf of themselves and all others similarly situated, hereby

demand a trial by jury.

                                                      Respectfully submitted,
Dated: June 20, 2019                                  HERTZ SCHRAM PC

                                               By:     /s/ Daniel W. Rucker
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{H0668171.4}                                     28
